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                       IN THE UNITED STATES DISTRICT COURT

                   IN AND FOR THE DISTRICT OF UTAH, CENTRAL
                                   DIVISION

THE UNITED STATES OF AMERICA,
                                                    REVISED ORDER TO CONTINUE
                 Plaintiff,                         SENTENCING
                                                         Case No. 2:15-cr-00716
v.
                                                                  Judge: Clark Waddoups
SAMER HAZIM MOHAMMED SALIH,

                 Defendant.

        The Court previously entered an Order to Continue Sentencing, (ECF No. 70.) That

Order included the wrong case number.

As previously ordered, the court ORDERS as follows:

     1. The sentencing hearing set in this matter for January 22, 2019 at 2:00 p.m. is vacated.

     2. The matter is now reset for sentencing on March 12th, 2019, at 1:00 p.m.

                                      Dated this 22nd day of January, 2019.



                                    BY THE COURT:




                                      HONORABLE CLARK WADDOUPS
                                      UNITED STATES DISTRICT COURT
                                      JUDGE
